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Перевод с русского языка на английский язык / Translation from Russian into English

                                  Lighthouse Charity Foundation

                                              OOO “M 13”

                                Dear Klyushin Vladislav Dmitievich!
Lighthouse Charity Foundation would like to thank you for your donation. The wire will be used to help
children and young adults suffering from incurable diseases.

Lighthouse Charity Foundation helps incurable children and young adults (under 30 y.o.) in Moscow and
Moscow region. About a thousand families who had to face terminal illness or child loss receive
assistance as part of the Lighthouse Charity Foundation program or project every year. Our budget is
primarily fed by smaller individual donations that come from ordinary people. Families receive help free
of any charges, no strings attached.

We strongly believe that children suffering from incurable deceases share the same rights as healthy
kids and shouldn’t stick in intensive care for the rest of their lives. Lighthouse Charity Foundation helps
families to bring their kids back from, arranging all the help they might need at home. We provide
families with non-stop medical assistance as well as psychological, social, law and charitable support.

Our goal is to help the families live their lives to the fullest, enjoy love and great moments with their
children, no matter how sick they are. Our purpose is also to make sure that at the end of his or her days
not a single child suffers from pain or is left alone.

To us and the kids we help your donation is priceless. We are happy to have a friend like you as our
supporter to help the children suffering from incurable deceases!

The Executive Director
Lighthouse Charity Foundation

/signature/   Prokopyeva Y.I.

THANK YOU!

mayak.help

seal: Lighthouse Charity Foundation

        Перевод с русского языка на английский язык сделан мной, переводчиком Кастрецкой Е.С.
        The translation from Russian into English was performed by me, the translator Kastretskaya E.S.
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